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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                         ENTERED
                                                                                                               07/18/2018
                                                         §
    In re:                                               §        Chapter 11
                                                         §
    LOCKWOOD HOLDINGS, INC., et al., 1                   §        Case No. 18-30197 (DRJ)
                                                         §
                Debtors.                                 §        Jointly Administered
                                                         §
                                                         §

          ORDER GRANTING DEBTORS’ EXPEDITED MOTION PURSUANT
            TO SECTIONS 363 AND 365 OF THE BANKRUPTCY CODE AND
       BANKRUPTCY RULES 2002, 6004, AND 6006 FOR ORDER (A) APPROVING
     COMPREHENSIVE SALE PROCESS, (B) APPROVING BIDDING PROCEDURES
         AND CERTAIN BID PROTECTIONS, (C) SCHEDULING AN AUCTION
      AND A SALE HEARING, (D) APPROVING FORM AND MANNER OF NOTICE
      RELATED THERETO, (E) AUTHORIZING SALE FREE AND CLEAR OF ALL
       LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES, (F) AUTHORIZING
            ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
           CONTRACTS AND UNEXPIRED LEASES AND PROPOSED CURE
     AMOUNTS WITH RESPECT THERETO AND (G) GRANTING RELATED RELIEF
                      [This instrument relates to Docket No. 483]

             Upon the expedited motion (the “Motion”), 2 filed by Lockwood Holdings, Inc. and

certain of its affiliates, the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), for entry of an order pursuant to 11 U.S.C. §§ 363 and 365 and Rules 2002, 6004,

and 6006 of the Federal Rules of Bankruptcy Procedure (A) approving a comprehensive sale

process, (B) approving the bidding procedures attached hereto as Exhibit 1 (the “Bidding

Procedures”) and certain bid protections, (C) scheduling an auction and sale hearing (the “Sale

Hearing”), (D) approving the form and manner of the notice related to the Sale Hearing, (E)

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); LMG Manufacturing, Inc. (9468); Lockwood Enterprises, Inc. (6504); and
7807 Eagle Lane, LLC (7382).
2
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.




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authorizing the Sale of the Debtors’ business as a going concern or of certain (or all) of its assets,

free and clear of liens, claims, interests and encumbrances, and (F) authorizing the assumption

and assignment of executory contracts and unexpired leases of the Debtors as may be requested

by the Stalking Horse (if any) or the Successful Bidder (collectively, the “Assumed Contracts”)

and the proposed cure amounts with respect thereto; and G) granting related relief; and the Court

being satisfied that the relief requested in the Motion is necessary and in the best interests of the

Debtors and their estates and creditors; and it appearing that sufficient notice of the Motion has

been given, and that no other or further notice is required; and upon the hearing on the Motion

conducted on July 17, 2018 (the “Bidding Procedures Hearing”) and all of the other proceedings

had before the Court; and after due deliberation and sufficient cause appearing therefor, the

Court hereby finds that:

            A.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § and 1334.

            B.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O).

            C.    The relief requested in the Motion is in the best interest of the Debtors, their

estates, creditors, and other parties in interest.

            D.    The Debtors have provided due and sufficient notice of the Motion and the

Bidding Procedures Hearing under the circumstances, and no other or further notice is required.

            E.    The Debtors have articulated good and sufficient reasons for (i) approving the

Bidding Procedures, (ii) the grant of certain bid protections in favor of one or more potential

Stalking Horse Bidders, (iii) approving the manner of notice of the Motion, and establishing the

Bid Deadline, the Auction, the Sale Hearing, and the assumption and assignment of the Assumed

Contracts and proposed cure relating thereto, and (iv) the scheduling of the Sale Hearing.




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            F.    The Debtors’ payment to a Stalking Horse Bidder (if any) of the Break-Up Fee on

the terms set forth in this Order (i) is an actual and necessary cost and expense of preserving the

Debtors’ estates, within the meaning of section 503(b) of the Bankruptcy Code, (ii) is of

substantial benefit to the Debtors’ estates, (iii) is reasonable and appropriate, in light of the size

and nature of the potential Sale and the efforts that have been and will be expended by a potential

Stalking Horse Bidder notwithstanding that the proposed Sale is subject to higher or better

offers, (iv) was negotiated by the parties at arms’ length and in good faith, and (v) is necessary to

ensure that a potential Stalking Horse Bidder will continue to pursue its proposed acquisition of

the Debtors’ assets.

            G.    The Bidding Procedures are reasonable and appropriate and represent the best

method for maximizing the realizable value of the Debtors’ assets in part, in total, or as a going

concern transaction.

            H.    Nothing contained herein shall prejudice or impair the rights of Wells Fargo Bank,

N.A. (“Wells Fargo”), individually and as agent, or Trustmark Bank, N.A. (together with, Wells

Fargo, collectively, the “Secured Lenders”) to credit bid their secured claims subject to the

requirements of Section 363(k) of the Bankruptcy Code and any subsequent or pending

challenge to the allowance of such secured claims, for all or any portion of the Assets in

connection with the proposed Sale. If Wells Fargo and/or the Secured Lenders elect to credit bid

bid, such credit bid must be applied: (i) first to any secured obligations outstanding under the

DIP Order [Docket No, 359], to the extent that such credit bid is allocated to assets secured by

the DIP Liens (as defined in the DIP Order); and, (ii) otherwise, to any obligations secured by the

Pre-Petition Liens (as defined under the DIP Order) to the extent that such credit bid is allocated

to assets secured by the Pre-Petition Liens.


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            It is hereby ORDERED that:

                                  Auction and Bidding Procedures

            1.    The Bidding Procedures attached hereto as Exhibit 1 and incorporated herein by

reference as if fully set forth herein, are hereby approved and shall govern the bidding and

Auction proceedings.

            2.    The Bid Deadline shall be August 10, 2018 at 4:00 p.m. (prevailing Central

Time), Qualified Bidders will be notified by August 13, 2018, Deposits will be returned to non-

Qualified Bidders by August 15, 2018, the Auction shall be conducted on August 15, 2018, and

the sale hearing will be held on August 27, 2018 at 2:00 p.m. (the “Sale Hearing”).

            3.    The Debtors are authorized to terminate the bidding process or the Auction at any

time if they determine, in their business judgment, that the bidding process will not maximize

value for the Debtors’ estates.

            4.    The general form APA attached hereto as Exhibit 2 and incorporated herein by

reference as if fully set forth herein, is hereby approved and may be modified by the Debtors

subject to consultation with the Committee and Wells Fargo.

                                     Sale Hearing and Auction

            5.    An Auction is scheduled to take place on August 15, 2018 commencing at 10:00

a.m. (CST) at the offices of Gray Reed & McGraw LLP, 1300 Post Oak Blvd., Suite 2000,

Houston, TX 77056. To the extent the Debtors decide to pursue a Plan Transaction, the Sale

Hearing, and/or the Auction shall be cancelled. The Sale Hearing shall take place on August 27,

2018 at 2:00 p.m. (prevailing Central Time) in the United States Bankruptcy Court for the

Southern District of Texas, Houston Division, 515 Rusk Street, Courtroom 400, Houston, Texas

77002, at which time the Court shall consider the Motion, the proposed Sale, and confirm the


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results of the Auction, if any. 3 Objections to the Motion and the proposed Sale shall be filed with

the Bankruptcy Court and served on the following parties so as to be actually received no later

than 4:00 p.m. (prevailing Central Time) on August 17, 2018 (one day after the Auction) (the

“Objection Deadline”): (a) counsel to the Debtors, Gray Reed & McGraw LLP, 1601 Elm Street,

Suite 4600, Dallas, TX 75201 (Attn: Jason S. Brookner) jbrookner@grayreed.com; (b) the

Debtors’ Chief Restructuring Officer, GlassRatner Advisory and Capital Group, 3500 Maple

Avenue, Suite 350, Dallas, Texas 75219 (Attn: Mark Shapiro) mshapiro@glassratner.com; (b)

counsel to the Committee, McKool Smith, 600 Travis Street, Suite 7000, Houston, Texas 77002

(Attn: Christopher D. Johnson) cjohnson@mckoolsmith.com; (c) the Office of the U.S. Trustee,

515     Rusk     Street,   Suite   3516,        Houston,     TX     77002     (Attn:    Hector     Duran)

Hector.Duran.Jr@usdoj.gov; and (d) counsel to Wells Fargo, Winstead PC, 500 Winstead

Building, 2728 N. Harwood Street, Dallas, Texas 75201 (Attn: Rakhee V. Patel)

rpatel@winstead.com and 600 Travis Street, Suite 5200, Houston, Texas 77002 (Attn: Sean B.

Davis) sbdavis@winstead.com.

            6.    The failure to timely file and serve an objection by the Objection Deadline shall

be a bar to the assertion, prior to, at the Sale Hearing, or thereafter, of any such objection to the

Motion, the Sale, or the Debtors’ consummation of the Sale. Notwithstanding the foregoing, the

Objection Deadline shall not apply to any objection based upon any event occurring at the

Auction.




3
  As set forth in the Bidding Procedures, the Debtors may cancel the Sale Hearing if th Plan Transaction is
ultimately accepted.




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            7.    The Sale Hearing may be adjourned from time to time without further notice to

creditors or parties in interest other than by announcement of the adjournment made in open

court.

                                          Bid Protections

            8.    The Break-Up Fee to be paid to a Stalking Horse Bidder, as more fully described

in the Motion and the Bidding Procedures, is hereby approved pursuant to the terms and

conditions set forth in the Motion and Bidding Procedures, and shall be paid pursuant to the

terms of an order approving a Sale Transaction, or a confirmation order approving a Plan

Transaction, as applicable; provided, however, that notwithstanding any term to the contrary set

forth in the APA, the Bidding Procedures, or this Order, any potential Stalking Horse Bidder

shall only be entitled to receive the Break-Up Fee if (i) a Stalking Horse Bidder, being ready,

willing and able to close its transaction, is not the Successful Bidder at the Auction, (ii) the Court

authorizes the Debtors to enter into an alternative transaction, and (iii)(A) if such alternative

Transaction is a Sale Transaction, such Sale Transaction actually closes or (B) if such alternative

Transaction is a Plan Transaction, a confirmation order is entered by the Court. Payment of the

Break-Up Fee as set forth herein, if a Stalking Horse Bidder is declared, shall survive

termination of the APA and shall constitute an administrative expense of the Debtors’ estates.

For the avoidance of doubt, expense reimbursements are expressly not allowed absent further

order of the Court.

                                            Cure Notice

            9.    In the event the Debtors seek to assume and assign any contracts or leases, the

Debtors shall file with the Court and serve upon affected counter-parties to the Assumed

Contracts (if any) a “Notice of Cure Amounts” (the “Cure Notice,” with such amounts set forth


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therein being “Cure Amounts”) no later than August 17, 2018, subject to amendment and

supplementation prior to the Sale Hearing. Objections, if any, to the assumption and assignment

of the Assumed Contracts or to the Cure Notice and any Cure Amount shall be filed and served

so as to be actually received by August 24, 2018. If an objection to the assumption and

assignment of the Assumed Contracts or to the Cure Notice and any Cure Amount cannot be

resolved consensually among the parties, the Court will set a hearing to determine such matters

as soon thereafter as is practicable, and the Debtors are permitted to give notice only to the

objecting party and those parties who have filed a notice of appearance. The Cure Amounts set

forth in the Cure Notice shall be binding on all parties unless an objection thereto is timely filed

and served. The failure to timely file and serve an objection shall be deemed consent to the

assumption and assignment of the Assumed Contracts and to the Cure Amounts, and any and all

objections thereto shall be deemed forever released and waived.

                                                Notice

            10.   Within three (3) business days after entry of this Order (the “Mailing Date”), the

Debtors shall serve the Motion, the APA, the Bidding Procedures, a copy of the Bidding

Procedures Order, and the Sale Notice (attached hereto as Exhibit 3), by U.S. first-class mail,

postage prepaid, upon: (a) all entities known to have expressed an interest in acquiring any of the

Debtors’ assets, or otherwise entering into a going concern sale transaction with the Debtors

during the past year; (b) the U.S. Trustee; (c) counsel to the Committee; (d) counsel to the

Debtors’ Secured Lenders; (e) counterparties to the Debtors’ executory contracts and unexpired

leases; (f) all parties who have requested notice in this case; and (g) all parties with whom

Imperial has been in contact and who have expressed an interest in potentially making a bid.




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Such notice shall be, and is hereby deemed to be, good and sufficient notice of the Auction, the

Sale, the Sale Hearing, and the Bid Procedures and requirements applicable thereto.

                                        Additional Provisions

            11.   This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

            12.   The fourteen (14) day stay period established by Bankruptcy Rule 6004(h) is

waived, and this Order shall be effective immediately.


        Signed: July 17, 2018.
        Signed:_________________________

                                                       ____________________________________
                                                       DAVID
                                                        David R.
                                                              R.JONES
                                                                 Jones
                                                       UNITED  STATES
                                                        United States   BANKRUPTCY
                                                                      Bankruptcy JudgeJUDGE




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                                        Exhibit 1

                                    Bidding Procedures




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      §
    In re:                                            §       Chapter 11
                                                      §
    LOCKWOOD HOLDINGS, INC., et al., 1                §       Case No. 18-30197 (DRJ)
                                                      §
                Debtors.                              §       Jointly Administered
                                                      §
                                                      §

                                        BIDDING PROCEDURES

        Set forth below are the bidding procedures (the “Bidding Procedures”) to be used with
respect to a proposed transaction (“Transaction”) of: (A)(i) a sale of all or a portion of the assets
of Lockwood Holdings, Inc. and its affiliates, the above-captioned debtors and debtors in
possession (collectively, “Lockwood” or the “Debtors”), including a sale of real estate only or
(ii) a going concern sale (together, a “Sale” or “Sale Transaction”), or (B) a restructuring
transaction under a confirmed chapter 11 plan of reorganization (a “Plan Transaction”). The
Transaction contemplated by these Bidding Procedures is subject to competitive bidding as set
forth herein and approval by the Bankruptcy Court (as defined herein) pursuant to either (x)
Sections 363 and 365 of title 11 of the United States Code (the “Bankruptcy Code”) or (y) a
confirmed chapter 11 plan of reorganization.

        On June 29, 2018, the Debtors filed their Expedited Motion Pursuant to Sections 363 and
365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006 for Order (A)
Approving Comprehensive Sale Process, (B) Approving Bidding Procedures and Certain Bid
Protections, (C) Scheduling an Auction and a Sale Hearing, (D) Approving Form and Manner of
Notice Related Thereto, (E) Authorizing Sale Free and Clear of all Liens, Claims, Interests, and
Encumbrances, (F) Authorizing Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases and Proposed Cure Amounts with Respect Thereto and (G) Granting Related
Relief [Docket No. 483] (the “Sale Motion”). On _____, 2018, the United States Bankruptcy
Court for the Southern District of Texas, Houston Division (the “Bankruptcy Court”) entered its
Order Granting Debtors’ Expedited Motion Pursuant to Sections 363 and 365 of the Bankruptcy
Code and Bankruptcy Rules 2002, 6004, and 6006 for Order (A) Approving Comprehensive Sale
Process, (B) Approving Bidding Procedures and Certain Bid Protections, (C) Scheduling an
Auction and a Sale Hearing, (D) Approving Form and Manner of Notice Related Thereto, (E)
Authorizing Sale Free and Clear of all Liens, Claims, Interests, and Encumbrances, (F)

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); LMG Manufacturing, Inc. (9468); Lockwood Enterprises, Inc. (6504); and
7807 Eagle Lane, LLC (7382).




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Authorizing Assumption and Assignment of Certain Executory Contracts and Unexpired Leases
and Proposed Cure Amounts with Respect Thereto and (G) Granting Related Relief [Docket No.
__] (the “Bidding Procedures Order”) approving these Bidding Procedures.

        The Bidding Procedures set forth herein describe, among other things, the manner in
which bidders and bids become “Qualified Bidders” and “Qualified Bids,” respectively, the
receipt and negotiation of bids received, the conduct of any Auction (as defined herein), the
ultimate selection of the Successful Bidder (as defined herein) and the Bankruptcy Court’s
approval thereof (collectively, the “Bidding Process”).

        Capitalized terms used but not defined herein have the meanings ascribed to such terms
in the Sale Motion.

                                                       I.
                                                   Key Dates

The Debtors have already begun the marketing process and have provided multiple parties
with a Confidential Information Memorandum (“CIM”). Before being provided with a copy
of the CIM or any other diligence materials, interested parties must sign and return a
confidentiality agreement, in a form acceptable to the Debtors in their sole discretion (a
“Confidentiality Agreement”). Requests for a Confidentiality Agreement should be made
to Ken Morris of Imperial Capital Advisors, LLC (“Imperial”) at 277 Park Avenue, 48th
Floor, New York, New York 10172, kmorris@imperialcapital.com. Once an interested
party signs and returns a Confidentiality Agreement, it will receive a copy of the CIM as well
as access to an electronic data room. Further diligence information is set forth in Section VIII,
below. In addition, questions about Real Estate (defined below) should be directed to
either or both of the following: Harold Bordwin, Keen-Summit Capital Advisors LLC
(“Keen”) at 555 Madison Ave, 5th Floor, New York, NY 10022, hbordwin@keen-
summit.com, and/or Matt Bordwin at 1 Huntington Quadrangle. Suite 2C04, Melville,
NY 11747, mbordwin@keen-summit.com. 2

       The deadlines and target dates from the CIM, and the other deadlines set forth in these
Bidding Procedures, are as follows: 3




2
 Keen has been retained as the Debtors’ exclusive broker for the following parcels of real estate (collectively, the
“Real Estate”): (i) 182 Turbo Dr., Strathcona County, Alberta, Canada; (ii) 499 Gladwish Drive, Sarnia, Ontario,
Canada; and (iii) 66.79 acres at the south-east corner of Beltway 8 and South Lake Houston Parkway, Houston, TX.
Parties may, however, bid on any or all of the real estate owned by the Debtors, whether being marketed by Keen or
otherwise.
3
 Not all of the deadlines in the CIM are set forth above, as some are being displaced by the dates set forth in these
Bidding Procedures and some have already passed.




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      Indications of interest [CIM]:                            June 13, 2018
      Bid Deadline:                                             August 10, 2018 at 4:00 p.m. (CT)
      Notifications to Qualified Bidders and Notice
      of Minimum Bid Increments:                                August 13, 2018
      Return of Deposits to non-Qualified Bidders:              Before August 15, 2018
      Auction:                                                  August 15, 2018
      Deadline to object to Sale:                               August 17, 2018
      Deadline to file Cure Notice:                             August 17, 2018
      Sale Hearing:                                             August 27, 2018 at 2:00 p.m. (CT) 4
      Deadline to object to assumption and
      assignment of the Assumed Contracts, to the
      Cure Notice, and any Cure Amount:                         August 24, 2018

                                                   II.
                             Sale of Assets or Going Concern Transaction

        The Debtors are entertaining bids for (A)(i) a going concern transaction, (ii) a sale of all
or substantially all of their assets, and (iii) a sale of such smaller portion of the Debtors’ assets as
may be subject to a purchase agreement and as may be bid upon at Auction; and (B) a Plan
Transaction. The Debtors may enter into one Transaction or several Transactions with multiple
parties, depending upon the bids received.

         In addition, (i) the Successful Bidder(s) in any Sale Transaction shall assume the assumed
liabilities as may be set forth in any purchase agreement and (ii) the Debtors shall assume and
assign the assumed contracts to such Successful Bidder(s), as may be set forth in any purchase
agreement(s) accepted by the Debtors.

                                                      III.
                                              “As Is, Where Is”

       Any Transaction(s) entered into by the Debtors shall be on an “as is, where is” basis and
without representations or warranties of any kind, nature, or description by the Debtors, their
agents, or estates, except as may be set forth in a purchase agreement(s) with a Successful
Bidder(s) or chapter 11 plan, approved by the Bankruptcy Court.




4
 If the Debtors ultimately decide to pursue a Plan Transaction, the Sale Hearing will be cancelled, and the Debtors
will promptly file a chapter 11 plan and pursue confirmation thereof.




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                                                  IV.
                                Free of Any and All Claims and Interests

        Any Transaction entered into by the Debtors shall be free and clear of all liens, claims,
interests, and encumbrances (collectively, the “Claims and Interests”), with such Claims and
Interests to attach to the net proceeds of the sale.

                                                   V.
                                  Participation and Bid Requirements

        Any person or entity who wishes to participate in the Bidding Process (a “Potential
Bidder”) must become a Qualified Bidder. As a prerequisite to becoming a Qualified Bidder, a
Potential Bidder must deliver the following documents to the Debtors, Wells Fargo Bank, N.A.
(as prepetition and DIP financing agent) (“Wells Fargo”), Imperial, Keen, and the Official
Committee of Unsecured Creditors (the “Committee”), at the addresses set forth below, no later
than the Bid Deadline (as defined below), in a form and substance acceptable to the Debtors and
their advisors (the “Required Bid Documents”):

            (a)     Evidence of the Potential Bidder’s financial ability to close a Transaction, in a
            form and substance acceptable to the Debtors in their sole discretion in consultation with
            Wells Fargo and the Committee. Such evidence may take the form of, among other
            things, current audited financial statements, bank statements, evidence of a non-
            contingent financing commitment, or such other documentation as the Debtors may
            accept in their sole discretion;

            (b)     A letter stating that the Potential Bidder’s offer is irrevocable until immediately
            following the closing of the Sale or confirmation of a chapter 11 plan, as applicable, and
            setting forth (i) the nature of the proposed Transaction, and if a Sale Transaction, whether
            such is a going concern or asset sale, which specifically identifies the assets or groups of
            assets to be purchased, and which includes the proposed consideration and the liabilities
            (if any) to be assumed, (ii) any assets expected to be excluded from the Sale, and (iii) the
            structure and financing of the Transaction (including, but not limited to, the sources of
            financing);

            (c)    If a Sale Transaction, a binding, executed, and definitive copy of the form Asset
            Purchase Agreement attached to the Sale Motion (the “APA”), together with all
            schedules thereto marked to show changes to the APA and schedules that the Potential
            Bidder proposes (a “Marked APA”), including the purchase price in U.S. dollars for each
            asset or group of assets subject to the applicable bid, and a specific allocation of
            consideration among the groups of assets being bid upon (all asset bids must also contain
            an allocation);

            (d)    If a Plan Transaction, an executed binding term sheet (the “Term Sheet”), together
            with such additional information as may be necessary to fully describe the elements of
            the proposed Plan Transaction, including the consideration to be paid;



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            (e)    A good faith earnest money cash deposit (the “Deposit”) in an amount equal to
            20% of the total purchase price of the proposed Transaction; provided, however, that if
            the Transaction is limited to the sale of real estate only, the Deposit shall be 10% of the
            purchase price;

            (f)    Evidence of corporate authority to enter into the Transaction;

            (g)    An executed Confidentiality Agreement; and

            (h)    Any additional information reasonably requested by the Debtors.

                                                 VI.
                                 Qualified Bidders and Qualified Bids

       A Potential Bidder (i) who delivers the documents described in Section V above, (ii)
whose financial information and credit-quality support or enhancement demonstrate the financial
capability of such Potential Bidder to consummate the Transaction if selected as the Successful
Bidder, (iii) who the Debtors determine is likely (based on availability of financing, experience,
and other considerations) to be able to consummate the Transaction within the time frame
provided by the APA or otherwise applicable in the above-captioned chapter 11 cases (the
“Cases”), and (iv) whose bid(s) constitute a “Qualified Bid” pursuant to these Bidding
Procedures, shall be deemed a “Qualified Bidder.” The Debtors will determine whether a
Potential Bidder is a Qualified Bidder after such consultation with Wells Fargo and the
Committee. By August 13, 2018, the Debtors will notify Potential Bidders if they are Qualified
Bidders, and will provide copies of all Qualified Bids to counsel to Wells Fargo and the
Committee. Wells Fargo is deemed to be a Qualified Bidder without the need to satisfy the
requirements described in Section V above.

            A bid will be deemed a “Qualified Bid” and considered by the Debtors only if the bid:

            (a)    is on terms and conditions (other than the amount of the consideration and the
            particular liabilities being assumed) that are substantially similar to, and are not
            materially more burdensome or conditional to the Debtors than, those contained in the
            APA;

            (b)    contains no contingencies of any type, other than Bankruptcy Court approval of
            the Transaction;

            (c)    other than any Stalking Horse Bid(s) that may be designated by the Debtors, is not
            conditioned upon any bid protections (such as a topping fee, termination fee, expense
            reimbursement, or similar type of payment);

            (d)    contains an acknowledgement and representation that the bidder: (i) has had an
            opportunity to conduct any and all due diligence regarding the Debtors and their assets
            and businesses prior to making its offer, (ii) has relied solely upon its own independent
            review, investigation and/or inspection of any documents and/or the businesses and assets
            of the Debtors in making its bid, and (iii) did not rely upon any written or oral statements,

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            representations, promises, warranties, or guaranties whatsoever, whether express,
            implied, by operation of law or otherwise, regarding the Debtors’ businesses or assets, or
            the completeness of any information provided in connection therewith or the Auction,
            except as expressly stated in the APA, the Marked APA or the Term Sheet;

            (e)      includes a list of assumed contracts and assumed liabilities (if any), and a
            commitment to consummate the Transaction and the assumption of the assumed
            liabilities (if any) within not more than ten (10) days after entry of an order by the
            Bankruptcy Court approving such Transaction;

            (f)     includes the purchase price in U.S. dollars for each asset or group of assets subject
            to the applicable bid, and a specific allocation of consideration among the groups of
            assets being bid upon (all asset bids must also contain an allocation);

            (g)     discloses (i) the identity of the Potential Bidder and each entity participating in
            connection with the Potential Bidder and the complete terms of such participation, and
            (ii) any other term sheets and other written or oral understandings between the Potential
            Bidder and its affiliates on one hand, and any insider (as defined in section 101(31) of the
            Bankruptcy Code) of the Debtors, on the other; and

            (h)    is received by the Bid Deadline.

       All bids for a Transaction must contemplate payment in cash, in full, upon the closing
of the Transaction, unless the Debtors agree otherwise, after consultation with Wells Fargo
and the Committee. Any bid that is not for cash, and does not otherwise comply with the above
requirements, shall not be deemed to be a Qualified Bid.

        Notwithstanding the foregoing, the Debtors shall have the right, in their sole and absolute
discretion as determined solely by the Debtors' Chief Restructuring Officer, after consultation
with Wells Fargo and the Committee, to entertain bids that do not conform to one or more of the
requirements specified herein and deem such bids to be Qualified Bids. A Qualified Bid will be
valued, among other things, based upon factors such as the net value provided by such bid, the
likelihood and timing of consummating the Transaction in question, and any other factors that
the Debtors may deem relevant to the Transaction. Wells Fargo is entitled to participate in any
Auction as a Qualified Bidder pursuant and subject to the terms and provisions of these Bidding
Procedures.

       Between the times the Debtors notify a Potential Bidder that it is a Qualified Bidder and
the Auction, the Debtors may discuss, negotiate, or seek clarification of any Qualified Bid from a
Qualified Bidder. Without the written consent of the Debtors, a Qualified Bidder may not
modify, amend, or withdraw its Qualified Bid, except for proposed amendments to increase the
consideration contemplated by the Qualified Bid, or otherwise enhance the terms of the Qualified
Bid.




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          The Debtors reserve the right to cancel, and not conduct, the Auction (as defined below)
 if the Debtors do not receive any Qualified Bids by the Bid Deadline. In such event, the Debtors
 will file a Notice of No Auction with the Bankruptcy Court.

         By submitting a bid, a Potential Bidder warrants and represents that it is a principal acting
 on its own behalf, and not as a broker, finder or agent acting on another’s behalf. Such Potential
 Bidder acknowledges that it will not look to the Debtors, Imperial, or Keen for the payment of
 any fee or commission. In addition, the Potential Bidder agrees to be responsible for the
 payment of any fee, commission, or other compensation payable to any broker, finder, or agent
 who alleges it has dealt with or through the Potential Bidder. By submitting a bid, a Potential
 Bidder will be deemed to indemnify, defend, and hold harmless the Debtors, Imperial, and Keen
 from and against any and all claims, damages, losses and liabilities, costs, and expenses
 (including reasonable attorneys’ fees and disbursements) arising out of any claim or claims by
 any broker, finder, or similar agent for commissions, fees, or other compensation who allege that
 they have dealt with the Debtors, Imperial, and/or Keen in connection with the Transaction.

                                               VII.
                                 Bid Deadline and Bid Recipients

         A Potential Bidder (other than a potential Stalking Horse Bidder and Wells Fargo) who
 desires to make a bid shall deliver written copies of its bid to each of the following, no later than
 4:00 p.m. Central Time on August 10, 2018 (the “Bid Deadline”):

1.   Debtors’ Counsel:
     Gray Reed & McGraw LLP                             Gray Reed & McGraw LLP
     1300 Post Oak Boulevard                            1601 Elm Street
     Suite 2000                                         Suite 4600
     Houston, Texas 77056                   -and-       Dallas, Texas 75201
     Attn.: Jason S. Brookner                           Attn.: Amber M. Carson
     Email: jbrookner@grayreed.com                      Email: acarson@grayreed.com

2.   Debtors’ Investment Banker and Real Estate Advisor:
     Imperial Capital                                   Keen-Summit Capital Advisors LLC
     277 Park Avenue, 48th Floor                        555 Madison Ave, 5th Floor
     New York, New York 10172                           New York, NY 10022
     Attn: Ken Morris, Managing Director                Attn: Harold Bordwin, Managing Director
     Email: kmorris@imperialcapital.com                 Email: hbordwin@keen-summit.com
                                                        -and-
                                                        1 Huntington Quadrangle
                                                        Suite 2C04
                                                        Melville, NY 11747
                                                        Attn: Matt Bordwin, Managing Director
                                                        Email: mbordwin@keen-summit.com



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3.   Debtors’ Chief Restructuring Officer:
     GlassRatner Advisory and Capital Group
     3500 Maple Avenue
     Suite 350
     Dallas, Texas 75219
     Attn: Mark Shapiro
     Email: mshapiro@glassratner.com

4.   Counsel to Wells Fargo:
     Winstead PC                                      Winstead PC
     500 Winstead Building                            600 Travis Street
     2728 N. Harwood Street                           Suite 5200
     Dallas, Texas 75201                              Houston, Texas 77002
     Attn: Rakhee V. Patel                            Attn: Sean B. Davis
     Email: rpatel@winstead.com                       Email: sbdavis@winstead.com

5.   Counsel to the Official Committee of Unsecured Creditors:
     McKool Smith
     600 Travis Street
     Suite 7000
     Houston, Texas 77002
     Attn: Christopher D. Johnson
     Email: cjohnson@mckoolsmith.com

                                               VIII.
                                           Due Diligence

         Following execution of a Confidentiality Agreement, the Debtors shall afford each
 interested party an opportunity to perform due diligence with respect to their businesses and
 assets. Due diligence access may include management presentations as may be scheduled by the
 Debtors, on-site inspections, and such other matters which an interested party may reasonably
 request and as to which the Debtors, in their sole discretion, may agree. The Debtors shall
 designate an employee or other representative to coordinate all reasonable requests for additional
 information and due diligence access from interested parties. No due diligence shall continue
 after the Bid Deadline. The Debtors may, in their discretion, coordinate diligence efforts such
 that multiple interested parties have simultaneous access to due diligence materials and/or
 simultaneous attendance at management presentations or site inspections.

       All diligence requests (other than with respect to Real Estate) should be made to
 Ken Morris of Imperial at 277 Park Avenue, 48th Floor, New York, New York 10172,
 kmorris@imperialcapital.com.

             All diligence requests with respect to Real Estate should be made to Chris Mahoney


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and Heather Milazzo of Keen, cmahoney@keen-summit.com and hmilazzo@keen-
summit.com, respectively, and by phone at (646) 381-9222.

        Each Qualified Bidder shall be deemed to acknowledge and represent that (i) it has had
an opportunity to conduct any and all due diligence regarding the Debtors’ businesses and assets
prior to making its offer, (ii) it has relied solely upon its own independent review, investigation,
and/or inspection of any documents and/or the business and assets in making its bid, (iii) it did
not rely upon any written or oral statements, representations, promises, warranties, or guaranties
whatsoever, whether express, implied, by operation of law or otherwise, regarding the business
or assets, or the completeness of any information provided in connection therewith, the Bidding
Process or the Auction (as defined herein), except, as to any Stalking Horse, as expressly stated
in the APA, and as to a Successful Bidder other than a potential Stalking Horse, as expressly
stated in the definitive agreement with such Successful Bidder approved by the Bankruptcy
Court, and (iv) that it has not engaged and will not engage in collusion in connection with the
bidding process at any time.

                                              IX.
                          Stalking Horse Declaration and Break-Up Fee

       Following entry of the Bidding Procedures Order, and in the exercise of their business
judgment and in their sole and absolute discretion as determined by their Chief Restructuring
Officer, the Debtors may, without any obligation to do so after consulting with the Committee
and Wells Fargo, select one or more bidders to act as a stalking horse (each being a “Stalking
Horse Bidder” with the relevant bid being a “Stalking Horse Bid”). The Debtors may, but are
not required to incur and pay a break-up fee in an amount not to exceed 3% of the cash
component of the Stalking Horse Bid (the “Break-Up Fee”); provided that the Break-Up Fee
shall only be paid pursuant to the terms of an order approving a Sale Transaction or a
confirmation order approving a Plan Transaction, as applicable. The Break-Up Fee shall only be
payable if (i) a Stalking Horse Bidder, being ready, willing, and able to close its Transaction is
not the Successful Bidder at the Auction, (ii) the Bankruptcy Court authorizes the Debtors to
enter into an alternative Transaction, and (iii)(A) if such alternative Transaction is a Sale
Transaction, such Sale Transaction actually closes or (B) if such alternative Transaction is a Plan
Transaction, a confirmation order is entered by the Court.

      In the event Debtors select one or more Stalking Horse Bids and/or elect to provide a
Break-Up Fee, the Debtors will file notice of the same with the Bankruptcy Court.

                                               X.
                                             Auction

       If the Debtors receive more than one Qualified Bid, an auction (the “Auction”) will be
conducted, upon notice to all Qualified Bidders who have submitted Qualified Bids, at 10:00
a.m. Central Time on August 15, 2018, at the offices of Gray Reed & McGraw LLP, 1300 Post
Oak Boulevard, Suite 2000, Houston Texas 77056, in accordance with the following procedures:

            (a)   Only the following persons shall be entitled to attend the Auction: (i)


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            professionals and principals or members of the Debtors, (ii) Imperial, (iii) Keen, (iv)
            counsel to, and business persons from, the Secured Lenders, (v) counsel to the Committee
            and its financial advisor, and a Committee representative, (vi) the United States Trustee
            for the Southern District of Texas (the “U.S. Trustee”), and (vii) professionals and
            principals or members of any Qualified Bidder who has timely submitted a Qualified Bid
            (collectively, the “Participating Parties”). Only Qualified Bidders will be entitled to
            make any Subsequent Bids (as defined below) at the Auction.

            (b)    At the commencement of the Auction, Qualified Bidders in attendance will be
            informed of which Qualified Bid or combination of Qualified Bids the Debtors believe is
            the highest or otherwise best offer(s), and from which bidding will begin.

            (c)     All Participating Parties shall be entitled to be present for all Subsequent Bids (as
            defined below) with the understanding that the true identity of each bidder shall be fully
            disclosed to all other bidders and that all material terms of each Subsequent Bid shall be
            fully disclosed to all Participating Parties throughout the entire Auction.

            (d)    The Debtors may employ and announce at the Auction additional procedural rules
            that are reasonable under the circumstances (e.g., the amount of time allotted to make
            Subsequent Bids) for conducting the Auction, provided that such rules are not
            inconsistent with these Bidding Procedures, the Bankruptcy Code, or any order of the
            Bankruptcy Court entered in connection herewith, and after consulting with Wells Fargo
            and the Committee regarding the same.

            (e)     Bidding at the Auction shall begin with the highest or otherwise best Qualified
            Bid or combination of Qualified Bids as identified by the Debtors at the onset of the
            Auction (the “Baseline Bid”). To the extent a Stalking Horse Bidder has been named, the
            initial overbid must exceed the Baseline Bid by the amount of the Break-Up Fee.
            Thereafter, or in the event no Stalking Horse Bidder has been named, the minimum
            bidding increment (the “Subsequent Bids” and each a “Subsequent Bid”) shall be
            $350,000.00 for a Transaction consisting of all or substantially all of the Debtors' assets.
            Further, in consultation with the Committee and the Secured Lenders, the Debtors shall
            establish minimum bid increments for any Transaction for less than all or substantially all
            of the Debtors' assets, and the Debtors shall file and serve a notice of such minimum bid
            increments by the August 13, 2018. The Auction shall continue in one or more rounds of
            bidding and shall conclude after each Participating Party has had the opportunity to
            submit one or more additional Subsequent Bids with full knowledge and written
            confirmation of the then-existing highest bid or bids.

            (f)    With respect to any assets not included in the Baseline Bid, the Debtors, may
            conduct the Auction with respect to such assets as described in these Bid Procedures,
            subject to an appropriate adjustment of the minimum bidding increment, as necessary, in
            consultation with Wells Fargo and the Committee,

      The Debtors reserve the right, in the exercise of their business judgment in consultation
with Wells Fargo and the Committee, to adjourn the Auction at one or more times to, among


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other things (i) facilitate discussions among the Debtors and Qualified Bidders, (ii) allow
Qualified Bidders to consider how they wish to proceed, and (iii) allow Qualified Bidders the
opportunity to provide the Debtors with such additional information or evidence, as the Debtors
may require in the exercise of their business judgment, that the Qualified Bidder has sufficient
resources and sufficient non-contingent debt and/or equity funding commitments to consummate
the Transaction at the then-prevailing Subsequent Bid amount.

       The Debtors shall maintain a transcript of the proceedings at the Auction, including the
Baseline Bid, all Subsequent Bids, and the Successful Bid (as defined below).

                                             XI.
                      Closing of Auction and Selection of Successful Bid

        The Auction shall continue until there is only one bid that the Debtors determine, in their
sole and absolute discretion and business judgment as determined by the Debtors' Chief
Restructuring Officer, after consultation with Wells Fargo and the Committee, is the highest or
otherwise best Qualified Bid for a Transaction or multiple Transactions, after taking into account
factors such as the speed and certainty of consummating the transaction (each such bid being a
“Successful Bid” and the bidder making such bid, the “Successful Bidder”). If Wells Fargo and
the Committee do not agree with the Debtors’ determinations regarding any matters set forth in
this paragraph, the Bankruptcy Court shall make such determinations in lieu of the Debtors.

        Promptly following the Debtors’ selection of the Successful Bid(s) and the conclusion of
the Auction, the Debtors shall announce the Successful Bid(s) and Successful Bidder(s) and shall
file with the Bankruptcy Court notice of the Successful Bid(s) and Successful Bidder(s).

        All bidders will be deemed to have consented to the core and exclusive jurisdiction of the
Bankruptcy Court and waived any right to a jury trial in connection with any and all disputes
relating to, arising from, or connected with the Auction, the marketing process, the Transaction,
and the construction and enforcement of any purchase agreement.

                                              XII.
                                         Back-Up Bidder

        If there is an Auction, the Qualified Bidder that submits the second highest Bid with
respect to a particular Transaction at the Auction shall be required to serve as the back-up bidder
(the “Back-Up Bidder”) and keep such Back-Up Bidder’s last Bid (the “Back-Up Bid”) open and
irrevocable until the earlier of (i) (A) if a Sale Transaction, 5:00 p.m. Central Time on the date
which is thirty (30) days after the date of the Sale Hearing or (B) if a Plan Transaction, the entry
of an order approving a disclosure statement for a chapter 11 plan (the “Disclosure Statement
Approval Date”), and (ii) the closing of the Transaction with the Successful Bidder (the “Outside
Back-Up Date”). If, (x) after the Sale Hearing but prior to the Outside Back-Up Date for a Sale
Transaction or (y) after the conclusion of the Auction but prior to the Outside Back-up Date for a
Plan Transaction, the Successful Bidder fails to consummate or proceed with the relevant
Transaction because of a breach or failure to perform on the part of such Successful Bidder, the
Back-Up Bidder will be deemed to have the new Successful Bid, and the Debtors will be


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authorized, without further order of the Bankruptcy Court, to consummate the Transaction(s)
with the Back-Up Bidder(s). The Debtors will provide notice to the Committee and Wells Fargo
of any failure by the Successful Bidder to close a Transaction and the election to proceed to close
a Transaction with a Back-Up Bidder.

                                              XIII.
                                       Right to Credit Bid

        Any creditor that has a valid, perfected, unavoidable, and enforceable security interest (a
“Security Interest”) in the Debtors’ assets (any such creditor, a “Secured Party”) may make one
or more credit bids for all or any portion of the secured claim(s) held by such Secured Party at
the Auction, subject to the requirements of section 363(k) of the Bankruptcy Code (a “Credit
Bid”). Wells Fargo shall be permitted to Credit Bid in an amount up to (i) the amount then-
outstanding under the terms of that certain Agreed Final Order (I) Authorizing the Debtors to (A)
Obtain Postpetition Senior Secured Superpriority Financing and (B) Use Cash Collateral, (II)
Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic
Stay, and (IV) Granting Related Relief [Docket No. 359] and the related DIP credit agreement,
plus (ii) the amount of Wells Fargo and/or the Secured Lenders’ pre-petition secured claims,
subject to any subsequent or pending challenge to the allowance of such secured claims;
provided, however, that Wells Fargo and the Secured Lenders shall allocate their credit bid(s)
among the various loans it holds and the collateral securing such loans in connection each Credit
Bid associated with a particular Transaction. The Secured Lenders reserve the right to credit bid
some or all of their secured claims (either individually or as a lender group by and through the
agent) for all or any portion of the Debtors’ assets subject to the requirements of section 363(k)
of the Bankruptcy Code in connection with the proposed Sale. Wells Fargo or the Secured
Lenders shall not in any case be required to submit an Initial Bid or serve as a Backup Bidder.
Subject to the approval of the Bankruptcy Court, the Secured Lender(s) shall automatically be
deemed a Successful Bidder with respect to a Transaction in connection with the proposed Sale
if the aggregate amount of their credit bid (if any) exceeds the total consideration of any Bid at
the conclusion of the Auction with respect to such Transaction. If Wells Fargo and/or the
Secured Lenders elect to credit bid, such credit bid must be applied: (i) first to any secured
obligations outstanding under the DIP Order [Docket No, 359], to the extent that such credit bid
is allocated to assets secured by the DIP Liens (as defined in the DIP Order); and, (ii) otherwise,
to any obligations secured by the Pre-Petition Liens (as defined under the DIP Order) to the
extent that such credit bid is allocated to assets secured by the Pre-Petition Liens. The
Committee, however, shall have the right to object to Wells Fargo being deemed a Successful
Bidder with respect to a Transaction to the extent such credit bid does not provide for the
payment of administrative expenses allowed in these cases and/or on the basis that a different bid
provides better value to the estates. Notwithstanding the foregoing, the Committees' right to
object to Wells Fargo being deemed a Successful Bidder with respect to a Transaction pursuant
to these Bid Procedures shall be subject to all rights and defenses available to Wells Fargo under
the terms of the DIP Order and these Bid Procedures. Under no circumstances shall the
Committee be permitted to object to Wells Fargo as the Successful Bidder with respect to a
Transaction if there exists no cash Back-Up Bidder with an irrevocable commitment to close




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such Transaction. For the avoidance of doubt, the Secured Lenders shall be entitled to exercise
their credit bid rights by and through one or more designees.

       In order to qualify a Credit Bid, a Secured Party must be a Qualified Bidder and a Credit
Bid must qualify as a Qualified Bid. Wells Fargo and/or the Secured Lenders are deemed to be
Qualified Bidder(s).

                                             XIV.
                            The Sale Hearing and Return of Deposits

       In the event one or more Sale Transactions are accepted by the Debtors, a hearing to
approve the Sale(s) will take place before the Honorable David R. Jones, Chief United States
Bankruptcy Judge, on August 27, 2018 at 2:00 p.m. Central Time, in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division, 515 Rusk Street,
Courtroom 400, Houston, Texas 77002. The Sale Hearing may be adjourned or rescheduled by
the Debtors without notice other than by an announcement made at the Sale Hearing.

        The Debtors will not be bound by a Successful Bid for a Sale Transaction or a Back-Up
Bid for a Sale Transaction unless and until the Bankruptcy Court has approved the same.
Following Bankruptcy Court approval of a Sale Transaction with the Successful Bidder(s), if the
Successful Bidder fails to consummate the Sale Transaction for any reason, then the Back-Up
Bidder(s) will be deemed to the Successful Bidder(s) and the Debtors will enter into a Sale
Transaction with the Back-Up Bidder(s)on the terms of the Back-Up Bid(s0 without any further
order of the Bankruptcy Court, and the Debtors may pursue any and all available remedies
against the Successful Bidder(s) in connection with its failure to consummate the Sale.

       If the Debtors choose to move forward with a Plan Transaction, the Sale Hearing will be
cancelled and notice of the same will be filed with the Bankruptcy Court.

        The Deposit(s) (together with interest, if any, thereon) of the Back-Up Bidder(s) for a
Sale Transaction will not be returned until two (2) business days following the closing of the
Sale to the Successful Bidder(s). The Deposit(s) (together with interest, if any, thereon) of all
other Qualified Bidders will be returned within 48 hours of the Auction concluding. The
Deposit(s) of the Successful Bidder(s) (together with interest, if any, thereon) shall be applied
against the payment of the consideration for each Sale Transaction upon the closing of the Sale.
In the event a Bidder fails to close as a result of its own default, its Deposit shall be released to,
and retained by, the Debtors.

       The Deposit (together with interest, if any, thereon) of a Back-Up Bidder for a Plan
Transaction will not be returned until two (2) business days following the Disclosure Statement
Approval Date. The Deposit (together with interest, if any, thereon) of all other Qualified
Bidders will be returned within 48 hours of the Auction concluding. The Deposit of the
Successful Bidder for a Plan Transaction (together with interest, if any, thereon) shall be applied
against the payment of the Plan Transaction consideration at the time a chapter 11 plan is
confirmed. In the event a Bidder fails to close as a result of its own default, its Deposit shall be
released to, and retained by, the Debtors.


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        Deposits made by Potential Bidders who are not determined to be Qualified Bidders will
be returned within three (3) business days after the Bid Deadline.

                                              XV.
                        Reservation of Rights and Fiduciary Obligation

        Notwithstanding any term to the contrary herein, the Debtors, in consultation with Wells
Fargo and the Committee, reserve the right to: (i) modify the Bidding Procedures at any time; (ii)
determine which Qualified Bid, if any, is the highest or otherwise best offer; (iii) reject at any
time, any bid that is: (a) inadequate or insufficient (in the Debtors’ sole and absolute discretion);
(b) not in conformity with the requirements of the Bankruptcy Code, the Bidding Procedures, or
the terms and conditions of the APA; or (c) contrary to the best interests of the Debtors, their
estates, and creditors as determined by the Debtors in their sole discretion; and (iv) pursue a sale
or other transaction through a chapter 11 plan.

       Nothing in these Bidding Procedures shall require the Debtors, the Debtors’ Chief
Restructuring Offer, the board of directors or similar governing body of any of the Debtors, or
any individual board member or officer of any of the Debtors to take any action, or to refrain
from taking any action, with respect to these Bidding Procedures or the Auction, to the extent
such persons or entities determine, on the advice of counsel, that taking or refraining from taking
such action, is required to comply with applicable law or its fiduciary obligations.




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                                     Exhibit 2

                             Asset Purchase Agreement




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                                  ASSET PURCHASE AGREEMENT


        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is entered into this ___
day of ___, 2018 by and between ________________________, a _____________________
(“Buyer”), and _________, a __________ (“Seller”). Buyer and Seller are each referred to
herein individually as a “Party,” and collectively as the “Parties.”

                                           RECITALS:

         A.     Seller is engaged in the business of manufacturing and distributing pipe, valves,
fittings and flanges, primarily in the petrochemical, oil and gas, and construction industries (the
“Business”).

        B.     On January 18, 2018 (the “First Petition Date”), Lockwood Holdings, Inc., LH
Aviation, LLC and Piping Components, Inc. filed voluntary petitions for relief under chapter 11 of
the Bankruptcy Code. On January 24, 2018 (the “Second Petition Date,” and together with January
18, 2018 the “Petition Dates”), Lockwood International, Inc., Lockwood Enterprises, Inc., LMG
Manufacturing, Inc., and 7807 Eagle Lane, LLC filed voluntary petitions for relief under chapter 11
of the Bankruptcy Code On April 29, 2015. All of the chapter 11 referenced chapter 11 cases are
pending in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division, and are being jointly administered under Case No. 18-30197 (DRJ) (the “Chapter 11
Case”).

        C.     The Parties desire that Buyer acquire and purchase from Seller, and that Seller
sell, convey transfer and assign to Buyer, certain assets of Seller used in the operation of the
Business, on the terms and conditions contained in this Agreement.

      NOW, THEREFORE, in consideration of the premises and of their mutual covenants and
agreements set forth in this Agreement, the Parties do hereby agree as follows:

                                           ARTICLE I.

                                 DEFINITIONS AND INTERPRETATION

            1.1   Definitions.

        Accounting terms used and not otherwise defined herein shall have the meanings given to
them under GAAP. When used in this Agreement, the following terms in all of their tenses and
cases shall have the meanings assigned to them below or elsewhere in this Agreement as
indicated below:

       “Acquisition Proposal” means a proposal relating to disposition of the Purchased Assets
pursuant to one or more transactions.


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       “Affiliate” of any Person means any Person directly or indirectly controlling, controlled
by or under common control with any such Person and any shareholder, officer or director of
such Person.

            “Agreement” is defined in the Preamble.

            “Allocation” is defined in Section 3.3.

       “Alternative Transaction” means (a) a transaction contemplated by an Acquisition
Proposal from a third party, or (b) a plan of reorganization of Seller not involving the sale of the
Purchased Assets to Buyer.

      “Assignment and Assumption Agreement” means the Assignment and Assumption
Agreement executed by Buyer and Seller, substantially in the form attached hereto as Exhibit B.

        “Bankruptcy Code” means title 11 of the United States Code, as amended, 11 U.S.C. §§
101, et. seq.

       “Bankruptcy Court” means the United States Bankruptcy court for the Southern Distreict
of Texas, Houston Division, or such other court exercising competent jurisdiction over the
Chapter 11 Case involving Seller.

      “Bid Procedures Order” means the Bankruptcy Court’s [insert full and correct name of
BP Order] [Docket No. ---], signed on ___________, 2018.

        “Bill of Sale” means a Bill of Sale executed by Seller, substantially in the form attached
hereto as Exhibit A.

            “Business” is defined in the Recitals.

            “Buyer” is defined in the Preamble.

            “Cash Deposit” is defined in Section 3.2(a).

            “Chapter 11 Case” is defined in the Recitals.

            “Closing” and “Closing Date” are defined in Section 8.1.

            “Code” means the United States Internal Revenue Code of 1986, as amended.

      “Contemplated Transactions” means all of the transactions contemplated by this
Agreement.




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       “Contract” means any written commitment, understanding, instrument, lease, pledge,
mortgage, indenture, license, agreement, purchase or sale order, contract, promise or similar
arrangement evidencing or creating any legally binding obligation.

       “GAAP” means generally accepted accounting principles, as in effect in the United States
from time to time and consistently applied.

       “Governmental Authority” means any foreign, federal, state, regional or local authority,
agency, body, court or instrumentality, regulatory or otherwise, which, in whole or in part, was
formed by or operates under the auspices of any foreign, federal, state, regional or local
government.

        “Law” means any federal, state, regional, local or foreign law, rule, statute, ordinance,
rule, Order or regulation.

       “Lien” means any lien, charge, covenant, condition, easement, adverse claim, demand,
encumbrance, limitation, security interest, option, pledge, or any other title defect or restriction
of any kind.

      “Order” shall mean any order, judgment, injunction, award, decree or writ of any
Governmental Authority.

            “Party” and “Parties” are defined in the Preamble.

            “Periodic Taxes” is defined in Section 9.3.

       “Person” means any individual, corporation, partnership, limited liability company,
association or any other entity or organization.

            “Proration Periods” is defined in Section 9.3.

            “Purchase Price” is defined in Section 3.1.

            “Purchased Assets” is defined in Section 2.1.

            “Sale Date” means the date that the Sale Order is entered by the Bankruptcy Court.

        “Sale Order” means the order of the Bankruptcy Court, in form and substance reasonably
satisfactory to Buyer and Seller, to be issued by the Bankruptcy Court pursuant to Sections 363
and 365 of the Bankruptcy Code (a) approving this Agreement and the Contemplated
Transactions, (b) approving the sale of the Purchased Assets to Buyer free and clear of all liens,
claims and encumbrances pursuant to Section 363(f) of the Bankruptcy Code, (c) approving the
assumption and assignment to Buyer of any Assumed Liabilities and (d) finding that Buyer is a
good faith purchaser entitled to the protections of Section 363(m) of the Bankruptcy Code.


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            “Seller” is defined in the Preamble.

            “Settlement Statement” is defined in Section 3.3.

       “Tax” means any tax, charge or assessment by or liability to any Governmental
Authority, including, but not limited to, any deficiency, interest or penalty.

      “Tax Returns” means any return, report or declaration filed with or submitted to any
Governmental Authority in connection with the assessment, collection or payment of any Tax.

            “Termination Fee” is defined in Section 8.3(d).

            “Transaction Taxes” is defined in Section 9.2.

       1.2     Interpretation. When a reference is made in this Agreement to a Section,
Schedule or Exhibit, such reference shall be to a Section, Schedule or Exhibit of this Agreement
unless otherwise indicated. The headings contained in this Agreement are for reference purposes
only and shall not affect in any way the meaning or interpretation of this Agreement. Whenever
the words “included,” “includes” or “including” are used in this Agreement, they shall be
deemed to be followed by the phrase “without limitation.” When used in this Agreement, the
word “primarily” shall be deemed to be followed by the phrase “or exclusively.” Unless
otherwise indicated, all references to dollars refer to United States dollars. The Parties
acknowledge that both Parties have participated in the drafting and preparation of this
Agreement and agree that any rule of construction to the effect that ambiguities are to be
construed against the drafting party shall not be applied to the construction or interpretation of
this Agreement.

                                               ARTICLE II

                                 PURCHASE AND SALE OF ASSETS

        2.1     Purchased Assets. Subject to the terms and conditions of this Agreement and
pursuant to Section 363 of the Bankruptcy Code, effective as of the Closing, Seller shall sell,
convey, transfer, assign and deliver to Buyer, free and clear of all Liens, and Buyer shall
purchase, all right, title and interest in and to the assets of Seller described on Schedule 2.1
hereto (collectively, the “Purchased Assets”).

        2.2    Assumed Contracts. Subject to the terms and conditions of this Agreement,
effective as of the Closing, Seller shall assign all of its rights, and Buyer shall assume all of
Seller’s obligations, under the contracts listed on Schedule 2.2 hereto (the “Assumed
Liabilities”).

        2.3     Retained Assets. Notwithstanding anything to the contrary in this Agreement,
Seller shall not sell, convey, transfer, assign or deliver, and Buyer shall not purchase or acquire
any assets of Seller other than the Purchased Assets.

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        2.4     Deemed Consents and Cures. For all purposes of this Agreement (including all
representations and warranties of Seller contained herein), Seller shall be deemed to have
obtained all required consents, as applicable, in respect of the assignment of any Purchased Asset
and to have cured all defaults thereunder if, and to the extent that, pursuant to the Sale Order,
Seller is authorized to assign any Purchased Assets to Buyer pursuant to Section 365 of the
Bankruptcy Code.

                                              ARTICLE III

                                          CONSIDERATION

        3.1     Purchase Price. The total consideration to be paid by Buyer to Seller for the
Purchased Assets is (a) $_______________ (the “Purchase Price”) and (b) the assumption by
Buyer of the Assumed Liabilities. Prior to or on the Closing Date, Buyer and Seller shall jointly
conduct a reconciliation of the existence of the Purchased Assets. To the extent any Purchased
Asset is not available to be conveyed to Buyer on the Closing Date, the Purchase Price shall be
adjusted pursuant to the procedures set forth on Schedule 3.1; provided, however, that no
adjustment shall be made due to the condition of any of the Purchased Assets. Notwithstanding
anything herein to the contrary, in no event shall any adjustment result in the Purchase Price
attributable to any category or item of Purchased Assets being zero, or less.

            3.2    Payment. Buyer shall pay the Purchase Price to Seller as follows:

                   (a)     The cash deposit required by the Bid Procedures Order in the amount of
            $__________ (the “Cash Deposit”) is to be held by Seller against payment of the
            Purchase Price and as security for the performance by Buyer of its obligations under this
            Agreement. The Cash Deposit shall be applied to the Purchase Price as set forth in
            Section 6.2.4 hereof.

                    (b)    The Purchase Price, as it may be adjusted, less the Cash Deposit, will be
            paid at the Closing by wire transfer of immediately available funds.

        3.3    Settlement Statement; Allocation of Purchase Price. Prior to or on the Closing
Date, the Parties shall agree upon a settlement statement setting forth the calculation of the
Purchase Price as of the Sale Date (the “Settlement Statement”). Prior to or on the Closing Date,
the Parties shall agree to the allocation of the appropriate portions of the Purchase Price,
Assumed Liabilities and other relevant items among the Purchased Assets, in accordance with
Code Section 1060 and the Treasury regulations promulgated thereunder and any comparable
provisions of state or local law, as appropriate (the “Allocation”), which Allocation shall be
binding upon the Parties and which will be attached to this Agreement as Schedule 3.3. The
Parties and their respective Affiliates shall report, act and file Tax Returns (including, but not
limited to Internal Revenue Service Form 8594) in all respects and for all purposes consistent
with such Allocation. Each Party shall furnish the other Party with such cooperation and existing
information as is reasonably requested by the other Party in connection with the preparation of

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the Allocation described in this Section 3.3. The Parties covenant and agree that (a) neither
Buyer nor Seller shall assert that this Section 3.3 was not separately bargained for at arm’s length
and in good faith, and (b) neither Buyer nor Seller will take any position before any
Governmental Authority, in any judicial proceeding, or in any Tax Return that is in any way
inconsistent with such Allocation unless otherwise required by Law.

        3.4    Alternative Transaction Provisions. Seller shall be entitled to consider proposals
for Alternative Transactions from third parties consistent with its fiduciary obligations as a
debtor in possession in the Chapter 11 Case.

        3.5     Risk of Loss. Notwithstanding anything to the contrary herein, Buyer shall
assume all risk of loss with respect to the Purchased Assets and shall become fully obligated with
respect to the Assumed Liabilities on and as of the Sale Date.

                                              ARTICLE IV

                       REPRESENTATIONS AND WARRANTIES OF SELLER

            Seller hereby represents and warrants to Buyer as follows:

        4.1     Organization and Power of Seller. Seller is a corporation duly incorporated,
validly existing and in good standing under the laws of the State of Texas. Seller has requisite
corporate power to: (a) own, lease and operate the Purchased Assets and carry on the Business
as and where such assets are now owned or leased and as the Business is presently being
conducted; and (b) execute, deliver and perform this Agreement and all other agreements and
documents to be executed and delivered by it in connection herewith, subject to and after giving
effect to the approval of the Bankruptcy Court (including satisfying any conditions imposed by
the Bankruptcy Court) and compliance with all requirements of the Bankruptcy Code.

        4.2    Enforceability. All requisite corporate action to approve, execute, deliver and
perform this Agreement has been taken by Seller. This Agreement and each other agreement and
document delivered by Seller in connection herewith have been duly executed and delivered by
Seller, subject to entry of the Sale Order by the Bankruptcy Court, constitute the binding
obligation of Seller, enforceable in accordance with their respective terms, except as
enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium, and other
laws affecting creditors’ rights generally and by principles of equity.

     4.3  No Implied or Other Representations or Warranties. EXCEPT AS OTHERWISE
EXPRESSLY SET FORTH HEREIN, IT IS THE EXPLICIT INTENT OF EACH PARTY
HERETO THAT SELLER AND ANY OF ITS AFFILIATES ARE NOT MAKING ANY
REPRESENTATION OR WARRANTY WHATSOEVER, EXPRESS OR IMPLIED, BEYOND
THOSE EXPRESSLY GIVEN IN THIS AGREEMENT, INCLUDING, BUT NOT LIMITED
TO, ANY IMPLIED WARRANTY OR REPRESENTATION AS TO CONDITION,
MERCHANTABILITY, SUITABILITY OR FITNESS FOR A PARTICULAR PURPOSE AS
TO ANY OF THE ASSETS, AND IT IS UNDERSTOOD THAT EXCEPT AS EXPRESSLY

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STATED IN THIS AGREEMENT, BUYER TAKES ALL OF SUCH PROPERTIES AND
ASSETS ON AN “AS IS” AND “WHERE IS” BASIS.

                                              ARTICLE V

                       REPRESENTATIONS AND WARRANTIES OF BUYER

            Buyer hereby represents and warrants to Seller as follows:

        5.1    Organization and Power. Buyer is a ____________________ duly organized,
validly existing and in good standing under the laws of the State of ____________. Buyer has
full power to execute, deliver and perform this Agreement and all other agreements and
documents to be executed and delivered by it in connection herewith.

       5.2     Enforceability. All requisite action to approve, execute, deliver and perform this
Agreement and each other agreement and document delivered by Buyer in connection herewith
has been taken by Buyer. This Agreement and each other agreement and document delivered by
Buyer in connection herewith have been duly executed and delivered by Buyer and constitute the
binding obligations of Buyer enforceable in accordance with their respective terms.

        5.3    Consents. Except for the approval of the Bankruptcy Court, no approval or
consent of, or filing with, any Person or Governmental Authority is required in connection with
the transactions contemplated hereby or the execution, delivery or performance by Buyer of this
Agreement or any other agreement or document delivered by or on behalf of Buyer in connection
herewith.

        5.4     No Conflicts. No action taken by or on behalf of Buyer in connection herewith,
including, but not limited to, the execution, delivery and performance of this Agreement, and
each other agreement and document delivered by it in connection herewith, and consummation
of the Contemplated Transactions, (a) gives rise to a right of termination or acceleration under
any Contract to which Buyer is a party or by which Buyer is bound; (b) conflicts with or violates
(i) any Law; (ii) Buyer’s organizational documents; or (iii) any Order to which Buyer is subject;
or (c) constitutes an event which, after notice or lapse of time or both, could result in any of the
foregoing.

       5.5     Litigation. Except for the required approval of the Bankruptcy Court to the
consummation of the Contemplated Transactions, no litigation or administrative proceeding is
pending, or to the knowledge of Buyer, threatened against Buyer which could prevent Buyer
from entering into, or performing its obligations under, this Agreement.

       5.6    Brokers or Finders. Except as set forth on Schedule 5.6, no Person is or will
become entitled, by reason of any agreement or arrangement entered into or made by or on
behalf of Buyer to receive any commission, brokerage, finder’s fee or other similar
compensation arrangement in connection with the consummation of the Contemplated
Transactions.

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       5.7     Financing. Buyer has adequate financing from internally-generated sources and
has adequate cash on hand, or will obtain adequate financing on or prior to the Sale Date, and
will continue to have adequate financing on the Closing Date, to enable it to fulfill its obligations
under this Agreement. Buyer acknowledges and agrees that Buyer’s obligations under this
agreement are not contingent on obtaining adequate financing.

        5.8     Buyer’s Investigation. Buyer represents that it is a sophisticated entity that was
advised by knowledgeable counsel and financial advisors and hereby acknowledges that it has
conducted an investigation of the Purchased Assets. Notwithstanding anything in this
Agreement to the contrary, Buyer acknowledges that it is accepting the Purchased Assets in their
present condition and locations and with their present operating capabilities.                Buyer
acknowledges that Seller make no warranty, express or implied, as to the condition of the
Purchased Assets except as expressly set forth in this Agreement. Buyer has not relied upon, and
Seller shall not be liable for or bound in any manner by, any express or implied verbal or written
information, warranties, guarantees, promises, statements, inducements, representations or
opinions pertaining to the Business or the Purchased Assets, except as may be contained in this
Agreement. Buyer has inspected, or waived its right to inspect, the Purchased Assets for all
purposes and satisfied itself as to their condition. Buyer is relying solely upon its own inspection
of the Purchased Assets, and Buyer shall accept all of the same in their as is, where is, condition.
Buyer acknowledges that the representations and warranties of Seller contained in this
Agreement constitute the sole and exclusive representations and warranties of Seller to Buyer in
connection with this Agreement and the Contemplated Transactions, and Buyer acknowledges
that all other representations and warranties are specifically disclaimed and may not be relied
upon or serve as a basis for a claim against Seller or its Affiliates.

                                           ARTICLE VI

                                  CONDITIONS TO CLOSING

       6.1     Conditions to Buyer’s Obligations. The obligation of Buyer to consummate the
Contemplated Transactions on the Closing Date is subject to the fulfillment on or prior to the
Sale Date of the following conditions, any one or more of which may be waived by Buyer:

               6.1.1 Representations and Covenants.          Each of the representations and
warranties of Seller contained in this Agreement shall be true and correct in all material respects
on and as of the Sale Date with the same effect as though made on the Sale Date. Seller shall
have performed and complied in all material respects with all of the covenants and agreements
required by this Agreement to be performed or complied with by Seller on or prior to the Sale
Date. Seller shall have delivered to Buyer a certificate, dated the Sale Date and signed by an
authorized officer of Seller, to the foregoing effect and stating that all conditions to Buyer’s
obligations hereunder, to the extent required to be performed by Seller, have been satisfied or
waived.



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                6.1.2 No Orders. On the Sale Date, there shall be no Order of any nature which
directs that the Contemplated Transactions, in whole or in part, not be consummated.

               6.1.3 Bankruptcy Court Approval. The Sale Order shall have been entered by
the Bankruptcy Court, and such order shall be in form and substance reasonably satisfactory to
Buyer. At a minimum, the Sale Order shall (a) provide that the Purchased Assets are being sold
to Buyer free and clear of all liens, claims and encumbrances pursuant to Section 363(f) of the
Bankruptcy Code, and (b) find that Buyer is a good faith purchaser entitled to the protection of
Section 363(m) of the Bankruptcy Code.

               6.1.4 Closing Deliveries. Seller shall have delivered, or caused to be delivered,
to Buyer the following documents, duly executed by Seller (where appropriate):

              (a)     Transfer Instruments. The Bill of Sale, the Assignment and Assumption
Agreement, and such other transfer instruments in form and substance reasonably satisfactory to
Buyer and signed by Seller, as shall be required to enable Buyer to acquire the Purchased Assets
and cause Buyer to assume the Assumed Liabilities;

               (b)    Officer’s Certificate. The officer’s certificates contemplated by Section
6.1.1;

               (c)    Sale Order. A copy of the Sale Order;

               (d)    Settlement Statement. A copy of the Settlement Statement; and

               (e)    Other. Such other document(s) or instruments required to be delivered by
Seller to Buyer hereunder.

       6.2     Conditions to Seller’ Obligations. The obligation of Seller to consummate the
Contemplated Transactions on the Closing Date is subject to the fulfillment on or prior to the
Sale Date of the following conditions, any one or more of which may be waived by Seller:

               6.2.1 Representations and Covenants.         Each of the representations and
warranties of Buyer contained in this Agreement shall be true and correct in all material respects
on and as of the Sale Date with the same effect as though made on the Sale Date. Buyer shall
have performed and complied in all material respects with all of the covenants and agreements
required by this Agreement to be performed or complied with by Buyer on or prior to the Sale
Date. Buyer shall have delivered to Seller a certificate, dated the Sale Date and signed by an
authorized officer of Buyer, to the foregoing effect and stating that all conditions to Seller’s
obligations hereunder, to the extent required to be performed by Buyer, have been satisfied or
waived.

                6.2.2 No Orders. On the Sale Date, there shall be no Order of any nature which
directs that the Contemplated Transactions, in whole or in part, not be consummated.


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               6.2.3 Bankruptcy Court Approval. The Sale Order shall have been entered by
the Bankruptcy Court, and such order shall be in form and substance reasonably satisfactory to
Buyer and Seller. At a minimum, the Sale Order shall (a) provide that the Purchased Assets are
being sold to Buyer free and clear of all liens, claims and encumbrances pursuant to Section
363(f) of the Bankruptcy Code, and (b) find that Buyer is a good faith purchaser entitled to the
protection of Section 363(m) of the Bankruptcy Code.

               6.2.4 Purchase Price. Buyer shall have delivered the Purchase Price to Seller as
specified in Article III. The Cash Deposit shall be applied to such amount at Closing.

               6.2.5 Closing Deliveries. Buyer shall have delivered to, or caused to be
delivered, to Seller the following documents, duly executed by Buyer (where appropriate):

               (a)    Officer’s Certificate. The officer’s certificate contemplated by Section
6.2.1;

            (b)    Assignment and Assumption Agreement.                  The Assignment and
Assumption Agreement; and

               (c)    Other. Each other document required to be delivered by Buyer to Seller
hereunder.

                                         ARTICLE VII

                                        COVENANTS

        7.1    Effectiveness of Representations and Warranties. Subject to the restrictions set
forth in the Bankruptcy Code or Orders of the Bankruptcy Court, from the date hereof through
the Sale Date, Seller shall use its reasonable efforts to conduct the Business in such a manner so
that the representations and warranties contained in Article IV shall continue to be true and
correct on and as of the Sale Date as if made on and as of the Sale Date.

        7.2    Conduct of Business. Except to the extent required by the Bankruptcy Court,
Seller shall not, with respect to the Business, except as otherwise permitted by the Bankruptcy
Code or an Order of the Bankruptcy Court:

               (a)     permit any of the Purchased Assets to be subjected to any additional Lien,
other than Liens that will be released as of the Closing; or

               (b)     sell or dispose of any Purchased Assets other than in the ordinary course
of the operation of the Business.

       7.3     Access. From the date hereof until the Closing Date, Seller shall provide Buyer
and its representatives reasonable access during normal business hours to Seller’s personnel,


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facilities and all books and records and such other information and Persons relating to the
Business as Buyer may reasonably request.

       7.4     Bankruptcy Filings. From the date hereof until the Closing Date, Seller shall
promptly deliver to Buyer’s counsel copies of all pleadings, motions, notices, statements,
schedules, applications, reports and other papers which relate to or may affect this Agreement or
the Purchased Assets that Seller files in the Chapter 11 Case.

        7.5    Publicity. Copies of the text of all public announcements (whether pre-Closing or
post-Closing) relating to this Agreement or the Contemplated Transactions will be provided to
the other Party prior to public release of the disclosure to be made.

        7.6     Expenses. Except to the extent otherwise specifically provided in this Agreement,
each Party shall bear its respective expenses incurred in connection with the preparation,
execution and performance of this Agreement and the transactions contemplated hereby,
including all fees and expenses of agents, representatives, counsel and accountants. Buyer shall
be solely responsible for all fees and expenses incurred or otherwise payable to all Persons listed
on Schedule 5.6.

            7.7   Further Assurances.

               7.7.1 Seller agrees that, at any time and from time to time after the Closing, it
will, upon the request of Buyer, do all such further acts as may be reasonably required to further
transfer and assign to Buyer any of the Purchased Assets, or to vest in Buyer good and
marketable title to the Purchased Assets.

               7.7.2 Buyer agrees that, at any time and from time to time after the Closing, it
will, upon the request of Seller, do all such further acts as may be reasonably required to cause
Buyer to assume the Assumed Liabilities in accordance with this Agreement and as may
otherwise be appropriate to carry out the transactions contemplated by this Agreement.

        7.8     Accounts Receivable. Except to the extent such account receivable constitutes
part of the Purchased Assets, if Buyer receives a payment from an account debtor for which there
is an outstanding account receivable both before and after the Sale Date, such payment shall be
applied to the oldest outstanding invoice(s), the payment of which the account debtor is not
disputing. In the event a customer claims that it is disputing an account receivable, Buyer
agrees: (a) to promptly inform Seller of such dispute and forward to Seller any information or
documents it has in connection therewith; and (b) to cooperate reasonably with Seller in its
efforts to resolve such dispute in such manner as Seller shall reasonably request in light of
Seller’s goal to collect the disputed receivables. On the 30th day after the Sale Date, and each
30th day thereafter, Buyer shall deliver to Seller all payments collected from each account debtor
with respect to the accounts receivable of Seller, along with all documentation with respect
thereto that Seller reasonably requests.



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        7.9    Vehicles. Buyer agrees to use its commercially reasonable efforts to file promptly
the appropriate vehicle title applications and registrations to change the name of the titled owner
on each vehicle title certificate and change the motor vehicle registration (with respect to license
plate information) on each vehicle being transferred to Buyer from Seller pursuant to this
Agreement. Buyer agrees that it shall remove and destroy Seller’s existing license plates from
all vehicles received upon the earlier of receipt of new license plates or 60 days following
Closing.

                                          ARTICLE VIII

                                CLOSING AND TERMINATION

        8.1     Closing. The closing (the “Closing”) of the Contemplated Transactions shall be
held on or within fifteen days after the Sale Date (or such other date as the Parties may agree in
writing), at the offices of Gray Reed & McGraw LLP, 1300 Post Oak Boulevard, Suite 2000,
Houston, Texas 77056, at 10:00 a.m. Central Time. The date on which the Closing occurs is
referred to as the “Closing Date.” The transfers and deliveries described in Article VI shall be
mutually interdependent and regarded as occurring simultaneously, and no such transfer or
delivery shall become effective until all the other transfers and deliveries provided for in Article
VI have also been made. Seller and Buyer shall meet on the date preceding the Closing Date at
the offices of Gray Reed & McGraw LLP to conduct a pre-Closing at which all deliveries to be
made at Closing will be reviewed by the parties and placed in escrow. At 10:00 a.m. Central
Time on the Closing Date, or as soon thereafter as is practicable, all instruments and payments
shall be distributed and disbursed to Seller and Buyer, and the Closing shall be consummated.

       8.2    Termination. This Agreement and the Contemplated Transactions may not be
terminated except as follows:

               (a)     Upon the mutual written consent of Seller and Buyer;

               (b)    By Seller, if (i) Buyer is in material breach of this Agreement and (ii) such
breach has not been cured on or before the Closing Date;

               (c)    By Buyer, if (i) Seller is in material breach of this Agreement and (ii) such
breach has not been cured on or before the Closing Date;

               (d)     By Seller, if the Closing has not occurred on or before ________, 2018;

                (e)    By Seller, if Seller enters into and consummates an Alternative
Transaction pursuant to a sale order comparable to the Sale Order or if Seller, pursuant to such a
sale order, agrees or determines to enter into an Alternative Transaction; or

               (f)     By either Seller or Buyer, if there shall be in effect a final non-appealable
court order restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby.

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            8.3   Effect of Termination.

               (a)      Upon the termination of this Agreement in accordance with Section 8.2
hereof, and except as set forth in Section 8.3(d) below, the Parties shall be relieved of any further
obligations or liability under this Agreement other than obligations or liabilities in accordance
with (i) the expense allocation provisions under Section 7.6, (ii) the jurisdiction provisions of
Section 10.7 and (iii) obligations for breaches of this Agreement occurring prior to such
termination.

                (b)    Upon any termination pursuant to Sections 8.2(b) or 8.2(d), Seller shall be
entitled to retain the Cash Deposit as liquidated damages for expenses incurred in connection
with this Agreement.

                (c)     Upon any termination pursuant to Sections 8.2(a), 8.2(c), 8.2(e), or 8.2(f),
Seller shall return the Cash Deposit to Buyer.

                (d)     Upon any termination pursuant to Section 8.2(e), if Buyer has been
declared a “Stalking Horse Bidder” as such term is defined in the Bid Procedures Order, then in
addition to the return of the Cash Deposit, Seller shall pay to Buyer a fee equal to [two and one-
half percent (2.5%)] [three percent (3%)] of the Purchase Price (the “Termination Fee”). The
Termination Fee shall be payable in immediately available funds by wire transfer no later than
three business days after the closing and funding of an Alternative Transaction. Notwithstanding
anything to the contrary in this Agreement, Buyer’s right to receive the return of the Cash
Deposit, plus payment of the Termination Fee shall be the sole and exclusive remedy of Buyer
and its Affiliates against Seller or any of its Affiliates for any and all losses that may be suffered
based upon, resulting from or arising out of such termination, and upon return of the Cash
Deposit and payment of the Termination Fee, none of Seller or any of its Affiliates shall have
any further liability or obligation relating to or arising out of this Agreement or the transactions
contemplated by this Agreement.

                (e)    Notwithstanding anything to the contrary contained herein, the provisions
of this Section 8.3 and Article VIII shall survive any termination of this Agreement.

                                            ARTICLE IX

                                           TAX MATTERS

       9.1    Filing of Returns. In connection with the preparation and filing of Tax Returns as
of and after the Sale Date, Buyer and Seller shall cooperate and exchange information as
reasonably required to accomplish the matters contemplated by this Article IX.

        9.2    Transaction Taxes. Buyer shall bear and be responsible for paying any sales, use,
stamp, transfer, documentary, registration, business and occupation and other similar taxes
(including related penalties (civil or criminal), additions to tax and interest) imposed by any

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Governmental Authority with respect to the transfer of the Purchased Assets to Buyer
(“Transaction Taxes”), regardless of whether any Tax authority seeks to collect such taxes from
Seller or Buyer. Buyer shall also be responsible for (a) administering the payment of such
Transaction Taxes, (b) defending or pursuing any proceedings related thereto, and (c) paying any
expenses related thereto. Seller shall give prompt written notice to Buyer of any proposed
adjustment or assessment of any Transaction Taxes with respect to the transactions contemplated
hereby. In any proceedings, whether formal or informal, Seller shall permit Buyer to participate
and control the defense of such proceeding with respect to such Transaction Taxes, and shall take
all actions and execute all documents required to allow such participation, so long as Buyer is
diligently pursuing the resolution thereof.

         9.3     Tax Prorations. As to any Purchased Assets acquired by Buyer, Seller and Buyer
shall apportion the liability for property taxes and ad valorem taxes (“Periodic Taxes”) for all
Tax periods including but not beginning or ending on the Sale Date (the “Proration Periods”).
The Periodic Taxes described in this Section 9.3 shall be apportioned between Seller and Buyer
as of the Sale Date, with Buyer liable for that portion of the Periodic Taxes equal to the Periodic
Tax for the Proration Period multiplied by a fraction, the numerator of which is the number of
days remaining in the Proration Period including and after the Sale Date, and the denominator of
which is the total number of days covered by such Proration Period. Seller shall be liable for that
portion of the Periodic Taxes for the Proration Period for which Buyer is not liable under the
preceding sentence. Buyer and Seller shall pay or be reimbursed for property taxes (including
instances in which such property taxes have been paid before the Sale Date) on this prorated
basis. If a payment on a tax bill is due after the Closing, the Party that is legally required to
make such payment shall make such payment and promptly forward an invoice to the other Party
for its pro rata share, if any. If the other Party does not pay the invoice within 30 calendar days
of receipt, the amount of such payment shall bear interest at the rate of 6% per annum. The Party
responsible for paying a tax described in this Section 9.3 shall be responsible for administering
the payment of (and any reimbursement for) such Tax. For purposes of this Section 9.3, the
Proration Period for ad valorem taxes and property taxes shall be the fiscal period for which such
taxes were assessed by the relevant Tax jurisdiction.

         9.4    Tax Refunds. Any Tax refunds, credits, or rebates (including any interest related
thereto) received by Buyer, its Affiliates or successors relating to the Purchased Assets and to
Tax periods or portions thereof ending on or before the Sale Date shall be for the account of
Seller, and Buyer shall pay over to Seller any such amount within five days of receipt thereof.
Buyer shall, if Seller so requests and at Seller’s direction and expense, file or cause its Affiliates
to file for and obtain any Tax refunds with respect to the Purchased Assets and to Tax periods or
portions thereof ending on or before the Sale Date.

9.5     Cooperation regarding Taxes. Buyer and Seller will work together to resolve any dispute
with taxing authorities regarding taxes, assessments and tax levies to the extent commercially
reasonable. Upon receipt from any governmental authority of any levy, notice, assessment, or
withholding of any tax, fee, or other charge for which Seller may be obligated pursuant to this
section, Buyer shall promptly provide written notice to Seller. In no case shall any settlement or
other disposition of such a levy, notice, assessment or withholding of any tax, fee or other charge

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for which Seller may be obligated pursuant to this section be entered or otherwise reached by
Buyer without Seller’s prior written consent; otherwise, Seller shall not be responsible for such
settled amounts, and Buyer shall indemnify and hold harmless Seller for such amounts, including
any interest and penalties, and shall reimburse Seller to the extent Seller has previously paid such
taxes.

9.6     Survival. This Article IX, including all subsections, shall survive any termination or
expiration of this Agreement: (a) for the period of time during which either Seller or Buyer may
be liable for any type of tax, fee, duty, surcharge, levy, assessment, withholding or other similar
governmental charge based upon or arising out of the transactions effectuated pursuant to this
Agreement under any applicable statute of limitations; or (b) where any audit, contest or
controversy based upon or arising out of the transactions effectuated pursuant to this Agreement
is pending, throughout the duration of such audit, contest or controversy.

                                                ARTICLE X

                                 MISCELLANEOUS; CONSTRUCTION

            10.1   Notices:

            All notices shall be in writing delivered as follows:

                   (a)     If to Buyer, to:




                           Attn:
                           Facsimile:

                           With a copy to:




                           Attn:
                           Facsimile:




                   (b)     If to Seller, to:


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                      Lockwood Holdings, Inc. et al.
                      c/o GlassRatner Advisory and Capital Group
                      3500 Maple Avenue
                      Suite 350
                      Dallas, Texas 75219
                      Attn: Mark Shapiro
                      Facsimile:
                      Email: mshapiro@glassratner.com

                      With a copy to:

                      Gray Reed & McGraw LLP
                      1601 Elm Street, Suite 4600
                      Dallas, Texas 75201
                      Attn: Jason S. Brookner
                      Facsimile: (214) 953-1332
                      Email: jbrookner@grayreed.com

or to such other address as may have been designated in a prior notice. Notices sent by registered
or certified mail, postage prepaid, return receipt requested, shall be deemed to have been given
two business days after being mailed; notices sent by a nationally recognized commercial
overnight carrier shall be effective the next business day after receipted delivery to such courier
specifying overnight delivery; notices sent by facsimile shall be effective upon confirmation of
receipt at the number specified above; notices sent by e-mail shall be effective upon receipt
confirmation to the address specified; otherwise, notices shall be deemed to have been given
when received at the address specified above (or other address specified in accordance with the
foregoing).

        10.2 Survival of Representations, Warranties, Covenants and Agreements. All
representations and warranties made by Seller in this Agreement shall terminate on the Closing
Date upon the purchase of the Purchased Assets by Buyer, and Seller shall have no liability after
the Closing Date for any breach of any representation or warranty. Except as specifically set
forth otherwise in the Agreement, all covenants and agreements of Seller shall lapse at, and be of
no further force and effect following, the Closing.

        10.3 Binding Effect. Except as may be otherwise provided herein, this Agreement
shall be binding upon and inure to the benefit of the Parties and their respective successors and
permitted assigns, including, without limitation, any trustee, responsible person, estate
administrator, representative or similar Person appointed for or in connection with the Chapter
11 Case or in any subsequent case under the Bankruptcy Code in which any Seller is a debtor.
Except as otherwise provided in this Agreement, nothing in this Agreement is intended or shall
be construed to confer on any Person other than the Parties any rights or benefits hereunder.

       10.4 Headings. The headings in this Agreement are intended solely for convenience of
reference and shall be given no effect in the construction or interpretation of this Agreement.

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      10.5 Exhibits and Schedules. The Exhibits and Schedules referred to in this
Agreement shall be deemed to be an integral part of this Agreement.

       10.6 Counterparts. This Agreement may be executed in multiple counterparts, each of
which shall be deemed an original, and all of which together shall constitute one and the same
document.

        10.7 Governing Law and Venue. Except to the extent inconsistent with the
Bankruptcy Code (in which case the Bankruptcy Code shall govern), this Agreement shall be
governed by and construed under the laws of the State of Texas, without regard to conflict of
laws principles. The Bankruptcy Court shall have exclusive jurisdiction over the interpretation
and enforcement of this Agreement. In the event the Bankruptcy Court declines to exercise
jurisdiction over any dispute arising under, relating to or connected with this Agreement, the
parties shall submit to jurisdiction in the federal and state courts sitting in Houston, Texas.

        10.8 Waivers. Compliance with the provision of this Agreement may be waived only
by a written instrument specifically referring to this Agreement and signed by the Party waiving
compliance. No course of dealing, nor any failure or delay in exercising any right, shall be
construed as a waiver, and no single or partial exercise of a right shall preclude any other or
further exercise of that or any other right.

       10.9 Pronouns. The use of a particular pronoun herein shall not be restrictive as to
gender or number but shall be interpreted in all cases as the context may require.

        10.10 Modification. No supplement, modification or amendment of this Agreement
shall be binding unless made in a written instrument which is signed by the Parties and which
specifically refers to this Agreement.

        10.11 Assignment. No assignment by any Party of this Agreement or any right or
obligation hereunder may be made without the prior written consent of the other Party, and any
assignment attempted without such consent will be void ab initio.

        10.12 Entire Agreement. This Agreement and the agreements and documents referred
to in this Agreement or delivered hereunder are the exclusive statement of the agreement among
the Parties concerning the subject matter hereof. All negotiations among the Parties are merged
into this Agreement, and there are no representations, warranties, covenants, understandings or
agreements, oral or otherwise, in relation thereto among the Parties other than those incorporated
herein and to be delivered hereunder.

        10.13 Severability. If any provision of this Agreement is held to be illegal, invalid or
unenforceable under present or future laws effective during the term hereof, the legality, validity,
and enforceability of the remaining provisions of this Agreement shall not be affected thereby,
and in lieu of such illegal, invalid, or unenforceable provision, there shall be added automatically


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as a part of this Agreement a provision as similar in terms to such illegal, invalid or
unenforceable provision as may be legal, valid, and enforceable.


                       [Remainder of page intentionally left blank.]




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        INTENDING TO BE LEGALLY BOUND, the Parties have signed this Agreement as of
the date first above written.

                                BUYER:




                                By:
                                Name:
                                Title:


                                SELLER:




                                By:
                                Name: Mark Shapiro
                                Title: Chief Restructuring Officer




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INDEX OF SCHEDULES

    Schedule 2.1 - Purchased Assets
    Schedule 2.2 - Assumed Liabilities
    Schedule 3.1 - Purchase Price Adjustment
    Schedule 4.3 - Allocation
    Schedule 6.6 - Brokers or Finders


INDEX OF EXHIBITS
   Exhibit A             Bill of Sale
   Exhibit B             Assignment and Assumption Agreement




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                                   Schedule 2.1

                                 Purchased Assets




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                                   Schedule 2.2

                                Assumed Liabilities




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                                         Schedule 3.1

                                 Purchase Price Adjustment

        To the extent that Schedule 2.1 contains an itemized list of categories of Purchased
Assets, including, (a) minimum quantities per category desired to be purchased and (b) a price
per category or per unit, then the Purchase Price shall be adjusted on a per unit basis, to the
extent the quantity in any category available to be conveyed to Buyer on the Closing Date is less
than the minimum quantity specified on Schedule 2.1.

       To the extent that Schedule 2.1 does not contain an itemized list of categories of
Purchased Assets, including minimum quantities and a price per category or unit, then the
Purchase Price shall be adjusted on a pro rata basis, to the extent the quantity in any category
available to be conveyed to Buyer on the Closing Date is less than the quantity specified in the
[document being provided to Buyers] (the “Asset List”). For purposes of calculating the
adjustment, the aggregate Purchase Price per category shall be deemed to equal (a) the book
value of all Purchased Assets as specified in the Asset List, divided by the aggregate Purchase
Price for all Purchased Assets, prior to adjustment, multiplied by (b) the book value of the
Purchased Assets included in such asset category as specified in the Asset List.




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                                   Schedule 4.3

                                    Allocation




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                                    Schedule 6.6

                                 Brokers or Finders




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                                             Exhibit A

                                            Bill of Sale

      This Bill of Sale (the “Bill of Sale”) is made and entered into by and between
_________________, a Texas corporation (“Seller”), and _______________________, a
_______________________ (“Buyer”).

                                      W I T N E S S E T H:

        WHEREAS, pursuant to that certain Asset Purchase Agreement dated _____, 2018 (the
“Agreement”) by and between Seller and Buyer, Seller is conveying to Buyer all rights, title and
interests of Seller in and to any and all Purchased Assets (as such term is defined in the
Agreement) and as further described on Exhibit A.

        NOW, THEREFORE, in consideration of the mutual promises contained in the
Agreement, the receipt and sufficiency of which are hereby acknowledged and confessed by
Seller, effective as of 12:01 a.m. on the Sale Date (the “Effective Time”), Seller does hereby
ASSIGN, TRANSFER, SET OVER, CONVEY, and DELIVER to Buyer, its successors and
assigns, all of its rights, title, and interests in and to the Purchased Assets.

        TO HAVE AND TO HOLD the Purchased Assets unto Buyer, its successors and assigns,
forever, free and clear of all liens, security interests and encumbrances, so that neither Seller, its
successors or assigns or any third parties shall have, claim or demand any right or title thereto as
of the Effective Time.

        Seller and Buyer may execute this Bill of Sale in any number of counterparts, separately
or together.

        Except as provided in the Agreement, this is the final and exclusive expression of the
agreement of Seller and Buyer as to the subject matter hereof, and no course of dealing or usage
of trade or course of performance shall be relevant to explain or supplement any term expressed
in this Bill of Sale. In the event of a conflict between the terms of this Bill of Sale and the
Agreement, the Agreement shall control. Capitalized terms used in this Bill of Sale shall, unless
defined herein, have the meanings given to such terms in the Agreement.

                           [ Remainder of page intentionally left blank.]




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        IN WITNESS WHEREOF, Seller and Buyer have executed this Bill of Sale to be
effective as of the Effective Time.


                                SELLER:




                                By:
                                Name: Mark Shapiro
                                Title: Chief Restructuring Officer


                                BUYER:




                                By:
                                Name:
                                Title:




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                                             Exhibit B

                            Assignment and Assumption Agreement

  THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”), dated
        , 2018, is between _________________, a Texas corporation (“Assignor”), and
______________, a ________              (“Assignee”). Assignor and Assignee are sometimes
collectively referred to as the “Parties” and individually referred to as a “Party”.

        WHEREAS, pursuant to that certain Asset Purchase Agreement dated July ___, 2018 (the
“Purchase Agreement”) by and between Assignor and Assignee, Assignor desires to assign its
rights, and Assignee desires to assume Assignor’s obligations, under the contracts listed or
described on Exhibit A hereto (the “Assumed Liabilities”) pursuant to the terms hereof.

        NOW, THEREFORE, in consideration of the foregoing, the covenants and agreements
contained herein, and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties, intending to be legally bound, hereby covenant and agree
as follows:

        1.    Effective Time. This Agreement and the assignment and assumption provided for
in this Agreement shall be effective at 12:01 a.m. on the Sale Date (the “Effective Time”).

       2.     Assignment by Assignor. As of the Effective Time, Assignor hereby transfers,
assigns, conveys and delivers to Assignee, all of its rights under contracts listed on Exhibit A.

        3.     Assumption by Assignee. Assignee hereby fully and completely assumes and
agrees to perform all of the duties, liabilities, and obligations of Assignor arising from and after
the Effective Time.

       4.      Counterparts; Further Assurances. The Parties may execute this Agreement in
any number of counterparts, separately or together. The Parties shall from time to time execute
and deliver to each other such other documents, in form and substance satisfactory to the other,
as may be necessary or appropriate to more fully accomplish the assignment and assumption
contemplated hereby.

         5.      Severability. If any provision of this Agreement is held to be illegal, invalid, or
unenforceable, such provision shall be fully severable and this Agreement shall be construed and
enforced as if such illegal, invalid, or unenforceable provision never comprised a part hereof; the
remaining provisions hereof shall remain in full force and effect and shall not be affected by the
illegal, invalid, or unenforceable provision or by its severance herefrom. Furthermore, in lieu of
such illegal, invalid, or unenforceable provision, there shall be added automatically as part of this
Agreement a provision as similar in its terms to such illegal, invalid, or unenforceable provision
as may be possible and be legal, valid, and enforceable.



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        6.      Entire Agreement, Etc. This Agreement and the Purchase Agreement constitutes
the entire agreement of the Parties with respect to the subject matter hereof. In the event of a
conflict between the terms of this Agreement and the Purchase Agreement, the Purchase
Agreement shall control. Capitalized terms used in this Agreement shall, unless defined herein,
have the meaning given to such terms in the Purchase Agreement.

        7.       Governing Law; Venue. This Agreement and the rights and obligations of the
Parties shall be governed by, construed, and enforced in accordance with laws of Texas. The
Bankruptcy Court shall have exclusive jurisdiction over the interpretation and enforcement of
this Agreement. In the event the Bankruptcy Court declines to exercise jurisdiction over any
dispute arising under, relating to or connected with this Agreement, the parties shall submit to
jurisdiction in the federal and state courts sitting in Houston, Texas.

        IN WITNESS WHEREOF, the Parties have duly executed and delivered this Agreement
to be effective as of the Effective Time.


                                    ASSIGNOR:




                                    By:
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer


                                    ASSIGNEE:




                                    By:
                                    Name:
                                    Title:




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                                     Exhibit 3

                                    Sale Notice




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                    §
In re:                                              §        Chapter 11
                                                    §
LOCKWOOD HOLDINGS, INC., et al., 1                  §        Case No. 18-30197 (DRJ)
                                                    §
            Debtors.                                §        Jointly Administered
                                                    §
                                                    §

                            NOTICE OF SALE HEARING,
                   POTENTIAL AUCTION, AND OBJECTION DEADLINE

       PLEASE TAKE NOTICE that on June 29, 2018, Lockwood Holdings, Inc. and certain
of its affiliates, the above-captioned debtors and debtors in possession (collectively, the
“Debtors”) filed their Expedited Motion Pursuant to Sections 363 and 365 of the Bankruptcy
Code and Bankruptcy Rules 2002, 6004, and 6006 for Order (A) Approving Comprehensive Sale
Process, (B) Approving Bidding Procedures and Certain Bid Protections, (C) Scheduling an
Auction and a Sale Hearing, (D) Approving Form and Manner of Notice Related Thereto, (E)
Authorizing Sale Free and Clear of all Liens, Claims, Interests, and Encumbrances, (F)
Authorizing Assumption and Assignment of Certain Executory Contracts and Unexpired Leases
and Proposed Cure Amounts with Respect Thereto and (G) Granting Related Relief [Docket No.
__] the (“Sale Motion”) with the United States Bankruptcy Court for the Southern District of
Texas, Houston Division (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that on _______, 2018, the Bankruptcy Court
entered its Order Granting Debtors’ Expedited Motion Pursuant to Sections 363 and 365 of the
Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006 for Order (A) Approving
Comprehensive Sale Process, (B) Approving Bidding Procedures and Certain Bid Protections,
(C) Scheduling an Auction and a Sale Hearing, (D) Approving Form and Manner of Notice
Related Thereto, (E) Authorizing Sale Free and Clear of all Liens, Claims, Interests, and
Encumbrances, (F) Authorizing Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases and Proposed Cure Amounts with Respect Thereto and (G) Granting Related
Relief [Docket No. __] (the “Bidding Procedures Order”), approving certain bidding procedures
attached thereto as Exhibit 1.

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Bidding Procedures
Order, unless cancelled, an Auction will take place on August 15, 2018 commencing at 10:00

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); LMG Manufacturing, Inc. (9468); Lockwood Enterprises, Inc. (6504); and
7807 Eagle Lane, LLC (7382).




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a.m. (CST) at the offices of Gray Reed & McGraw LLP, 1300 Post Oak Blvd., Suite 2000,
Houston, TX 77056. The Auction will proceed, and be conducted, pursuant to the terms of the
Bidding Procedures.

        PLEASE TAKE FURTHER NOTICE that a hearing on the sale of the Debtors’ assets,
including the assumption and assignment of any executory contracts (the “Sale Hearing”), will
take place on August ______, 2018 at ________.m. (CST) in the United States Bankruptcy
Court for the Southern District of Texas, Houston Division, 515 Rusk Street, Courtroom 400,
Houston, Texas 77002. As set forth in the Bidding Procedures, the Auction and the Sale Hearing
may be cancelled, with a notice of cancellation to be filed by the Debtors with the Bankruptcy
Court.

        PLEASE TAKE FURTHER NOTICE that any objection to the assumption and
assignment of any executory contract or unexpired lease, or any cure amount related thereto, shall
be filed by August 24, 2018 and served upon the Notice Parties designated below. To the extent
any such objection is filed, a subsequent hearing will be scheduled with notice to the objecting
party.

        PLEASE TAKE FURTHER NOTICE that the deadline for filing objections to the
Sale(s) is August 17, 2018. Objections, if any, must (a) be in writing, (b) state with specificity
the nature of such objection, (c) comply with the Federal Rules of Bankruptcy Procedure, and (d)
be filed with the Court and served on undersigned counsel for the Debtors, the United States
Trustee for the Southern District of Texas, the Official Committee of Unsecured Creditors, and
Wells Fargo Bank, N.A. (as prepetition and DIP financing agent) at the addresses listed below
(the “Notice Parties”).

1.          Debtors’ Counsel:
            Gray Reed & McGraw LLP                        Gray Reed & McGraw LLP
            1300 Post Oak Boulevard                       1601 Elm Street
            Suite 2000                                    Suite 4600
            Houston, Texas 77056                -and-     Dallas, Texas 75201
            Attn: Jason S. Brookner                       Attn: Amber M. Carson
            Email: jbrookner@grayreed.com                 Email: acarson@grayreed.com

2.          United States Trustee for the Southern District of Texas :
            Office of the United States Trustee
            515 Rusk Street
            Suite 3516
            Houston, Texas 77002
            Attn: Hector Duran
            Email: Hector.Duran.Jr@usdoj.gov




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3.          Counsel to Wells Fargo:
            Winstead PC                                     Winstead PC
            500 Winstead Building                           600 Travis Street
            2728 N. Harwood Street                          Suite 5200
            Dallas, Texas 75201                  -and-      Houston, Texas 77002
            Attn: Rakhee V. Patel                           Attn: Sean B. Davis
            Email: rpatel@winstead.com                      Email: sbdavis@winstead.com

4.          Counsel to the Official Committee of Unsecured Creditors:
            McKool Smith
            600 Travis Street
            Suite 7000
            Houston, Texas 77002
            Attn: Christopher D. Johnson
            Email: cjohnson@mckoolsmith.com

         PLEASE TAKE FURTHER NOTICE that copies of pleadings related to the proposed
sale(s), including the Bidding Procedures Order (and attached bid procedures) approved by the
Bankruptcy         Court,      are  available     on      the     Debtors’      website    at
www.omnimgt.com/lockwoodholdings or on the Bankruptcy Court’s website at
https://ecf.txs.uscourts.gov/.

            Respectfully submitted this _____th day of July, 2018.

                                                GRAY REED & McGRAW LLP

                                                By: ___________________________________
                                                    Jason S. Brookner
                                                    Texas Bar No. 24033684
                                                1300 Post Oak Blvd., Suite 2000
                                                Houston, Texas 77056
                                                Telephone: (713) 986-7000
                                                Facsimile: (713) 986-7100
                                                Email:       jbrookner@grayreed.com

                                                -and-

                                                    Amber M. Carson
                                                    Texas Bar No. 24075610
                                                1601 Elm Street, Suite 4600
                                                Dallas, Texas 75201
                                                Telephone: (214) 954-4135
                                                Facsimile: (214) 953-1332
                                                Email:      acarson@grayreed.com

                                                COUNSEL TO THE DEBTORS



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July __, 2018, a true and correct copy of this Notice of Sale
Hearing, Potential Auction, and Objection Deadline has been served (i) electronically via
CM/ECF on all parties who have subscribed for electronic notice in this case, (ii) via U.S. first-
class mail on all parties listed on the Debtors’ Official Service List and (iii) via U.S. first-class
mail or email if available to (a) all entities known to have expressed an interest in an asset
purchase or going concern sale transaction with the Debtors during the past year; (b)
counterparties to the Debtors’ executory contracts and unexpired leases; and (c) all parties with
whom Imperial and Keen have been in contact and who have expressed an interest in potentially
making a bid.

                                               /s/ _______________________
                                              Jason S. Brookner




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